87 F.3d 1325
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Frank Lee WHEELER, Defendant-Appellant.
    No. 95-56856.
    United States Court of Appeals, Ninth Circuit.
    Submitted June 11, 1996.*Decided June 18, 1996.
    
      Before:  CANBY, NOONAN and LEAVY, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Frank Lee Wheeler, a federal prisoner, appeals pro se the district court's denial of his 28 U.S.C. § 2255 motion challenging his criminal conviction on double jeopardy grounds.   We have jurisdiction pursuant to 28 U.S.C. § 2255, and we affirm.1
    
    
      3
      Wheeler contends that his criminal conviction violated the Double Jeopardy Clause because he had already been subjected to punishment for the same conduct through the government's uncontested administrative forfeiture proceedings.   This contention is foreclosed by United States v. Cretacci, 62 F.3d 307 (9th Cir.1995), in which we held that the administrative forfeiture of unclaimed property does not constitute punishment for purposes of the Double Jeopardy Clause.2
    
    
      4
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
      
        1
         Because we affirm the district court's denial of Wheeler's motion under the former version of 28 U.S.C. § 2255, we do not consider whether the Antiterrorism and Effective Death Penalty Act of 1996 applies to this appeal
      
      
        2
         We decline to consider for the first time on appeal Wheeler's contention that the administrative forfeiture violated the Double Jeopardy Clause.  See United States v. Flores-Payon, 942 F.2d 556, 558 (9th Cir.1991)
      
    
    